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a DP EBP: USAO 2018R00833

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

UNITED STATES OF AMERICA e

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v. * CRIMINAL NO. [TBD

Pz lAchAo\
TIMOTHY L. DAY, * (Possession of Child Pornography,

" 18 U.S.C. § 2252A(a)(5)(B) and (b)(2);

Defendant x Forfeiture, 18 U.S.C. § 2253)
*
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INFORMATION
COUNT ONE

(Possession of Child Pornography)

The United States Attorney for the District of Maryland charges that:

Between on or about May 2, 2017 and in or about November 2018, in the District of
Maryland, the defendant,

TIMOTHY L. DAY,

did knowingly possess any material that contained an image of child pornography, as defined in
18 U.S.C. § 2256(8), which had been mailed, shipped, and transported using any means and
facility of interstate and foreign commerce and in and affecting interstate and foreign commerce
by any means, including by computer, and which was produced using materials that had been
mailed, shipped, and transported in and affecting interstate and foreign commerce by any means,

including by computer.

18 U.S.C. § 2252A(a)(5)(B)

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SPECIAL ALLEGATION

 

The United States Attorney for the District of Maryland further alleges that:
Prior to May 2, 2017, the defendant,
TIMOTHY L. DAY,

had a prior conviction under Chapter 110 of Title 18 of the United States Code or the law of any
State relating to aggravated sexual abuse, sexual abuse, and abusive sexual conduct involving a
minor or ward, or the production, possession, receipt, mailing, sale, distribution, shipment, or
transportation of child pornography, that is, on or about November 20, 2002, in the United States
District Court for the District of Columbia, TIMOTHY L. DAY, was convicted of Possession of

Child Pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B).

18 U.S.C. § 2252A(b)(2)
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FORFEITURE ALLEGATION
The United States for the District of Maryland further finds that:
L. Pursuant to 18 U.S.C. § 2253, upon conviction of the offense set forth in Count
One of this Information, in violation of 18 U.S.C. § 2252A(a)(5)(B), the defendant,
TIMOTHY L. DAY,
shall forfeit to the United States of America:

a. Any visual depiction described in 18 U.S.C. § 2252A, or any book,
magazine, periodical, film, videotape, or other matter which contains any such visual depiction,
which was produced, transported, mailed, shipped, or received in violation of Title 18, United
States Code, Chapter 110;

b. Any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from the offenses; and

od Any property, real or personal, used or intended to be used to commit or to

promote or to facilitate the commission of the offenses.

2. If any of the property described above, as a result of any act or omission of the
defendant,
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
G has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
: has been commingled with other property which cannot be divided
without difficulty,
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the United States of America shall be entitled to forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p), as incorporated by Title 18, United States Code,

Section 2253(b).

18 U.S.C. § 2253

Date: Naw \o aol Coord a Hou [EGP
Robert K. Hur

United States Attorney
